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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


Melvin JOHNSON, Jamal SCOTT, and
Armando TORRES; individually and on behalf
of all similarly situated individuals,
              Plaintiffs,                            CIVIL CASE NO. 6:18-cv-06568-CCR
                                                 JOINT PROPOSED DISCOVERY PLAN of
                                                     PLAINTIFF AND DEFENDANTS
       -against-

NEW YORK STATE DEPARTMENT OF
CORRECTIONS AND COMMUNITY
SUPERVISION, GOVERNOR ANDREW
CUOMO, in his official capacity, ACTING
COMMISSIONER ANTHONY ANNUCCI, in
his official capacity, and THE STATE OF NEW
YORK,
                        Defendants.
_______________________________________


The following Civil Case Discovery Plan and Scheduling Order is adopted, after consultation
with counsel for the parties, pursuant to Rules 26(f) and 16 of the Federal Rules of Civil
Procedure.
   1. Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(1) shall be made by February 1, 2019.

   2. The deadline for the filing of motions to amend the pleadings or add parties is March 1,
      2019.

   3. All fact discovery must be completed by September 27, 2019.

   4. All expert discovery, including full compliance with Rule 26(a)(2) regarding the
      identification and filing of reports of testifying experts, must be completed by October
      25, 2019.

   5. The deadline for filing of motions to compel discovery is November 22, 2019.

   6. The parties do not anticipate the entry of any order pursuant to Rule 26(c).
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   7. The parties do not anticipate any changes in the limitations on discovery under Rule 30,
      Rule 33, or Rule 34.

   8. Plaintiff requests that Defendants preserve e-mail communications.

   9. The parties have made no agreements concerning assertions of claims of attorney-client
      privilege or work-product protection after information is produced, including agreements
      reached under Federal Rule of Evidence 502.

   10. All dispositive motions must be filed by January 17, 2020.

   11. The parties consent to participation in judicially supervised settlement conference as soon
       as can be scheduled by the Court, and further agree to participate in other alternative
       dispute resolution, including mediation. As this matter is time sensitive, the parties
       request that judicially supervised settlement efforts begin as soon as the Court’s schedule
       allows

   12. A jury trial is not required. The anticipated length of the trial is three days.


IT IS SO ORDERED.


Dated: ______________________, 2019


_________________________________
Christina Reiss, District Judge
United States District Court
